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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


     UNITED STATES OF AMERICA

     v.                                       Case No. 3:21-cr-22(S4)-MMH-MCR

     MATTHEW RAYMOND HOOVER



                                        ORDER

             THIS CAUSE is before the Court on the Unopposed Motion for Assistant

     to Attend Trial With Electronic Equipment (Dkt. No. 238; Motion) filed on April

     6, 2023. In the Motion, counsel for Defendant Hoover seeks permission for his

     assistant, Susan Katzenberger, to enter the courthouse with a cell phone and

     laptop computer during the trial in this matter. See Motion at 1. Counsel for

     Defendant Hoover represents to the Court that counsel for the United States

     does not object to the relief requested in the Motion. See id. at 2. Accordingly,

     it is

             ORDERED:

             1.   The Unopposed Motion for Assistant to Attend Trial With

                  Electronic Equipment (Dkt. No. 238) is GRANTED.
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             2.   Susan Katzenberger is permitted to enter the courthouse with a cell

                  phone and laptop computer during the trial in this matter, which is

                  set for April 10, 2023, through April 28, 2023.

             3.   Ms. Katzenberger shall bring a copy of this Order with her on the

                  first day of trial.

             DONE AND ORDERED in Jacksonville, Florida this 7th day of April,

     2023.




     ja

     Copies to:

     Counsel of Record
     Court Security Officers




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